                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                   AT CHATTANOOGA

 UNITED STATES OF AMERICA                           )
                                                    )       Case No. 1:12-cr-104
 vs.                                                )
                                                    )
 BARBARA LANG                                       )       COLLIER/CARTER

                                MEMORANDUM AND ORDER

        The defendant appeared for a hearing before the undersigned on September 20, 2013, in
 accordance with Rule 46(c) of the Federal Rules of Criminal Procedure and 18 U.S.C. '' 3143
 and 3148 on the Petition for Action on Conditions of Pretrial Release (Petition). The defendant
 asked for more time to prepare for a hearing. The hearing was rescheduled for Thursday,
 September 26, 2013, at 10:30 am. Those present for the September 26, 2013, hearing included:

               (1) An Asst. U.S. Attorney (AUSA) for the Government.
               (2) The defendant.
               (3) Attorney Paul Bergmann for defendant.

         After being sworn in due form of law the defendant was informed or reminded of her
 privilege against self-incrimination accorded her under the 5th Amendment to the United States
 Constitution.

         The government presented evidence to show that the defendant violated her conditions of
 release by making false representations which aided and abetted the failure of another to appear
 and concealing a person from arrest. Based on the defendant=s violations, I conclude the
 defendant is must be DETAINED without bond.

        SO ORDERED.

        ENTER.

                                             SBj|ÄÄ|tÅ UA `|àv{xÄÄ VtÜàxÜ
                                             UNITED STATES MAGISTRATE JUDGE




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